'AO 2458 Case
           (Rev. 5:13-cr-50012-TLB
                 06/05) Judgment in a Criminal CaseDocument 117              Filed 03/20/14            Page 1 of 6 PageID #: 625
           Sheet 1



                                            UNITED STATES DISTRICT COURT
                       WESTERN                                      District of                            ARKANSAS
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                 v.
           GONZALO PONCE-HURTADO                                           Case Number:                    5: 13CR50012-004
                                                                           USMNumber:                      32406-379
                                                                           William Blair Brady
                                                                           Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)            One (1) of the Superseding Indictment on May 29,2013
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                       Nature of Offense                                                    Offense Ended

21 U.S.C. §§ 841(a)(l)                Conspiracy to Distribute Methamphetamine                                12/0812012
and 846


       The defendant is sentenced as provided in pages 2 through           _--=-6__ of this judgment, with the court considering the Sentencing
Guidelines as non-binding and advisory only.
D The defendant has been found not guilty on count(s)
D Count(s) _ _ _ _ _ __                     Dis      D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days ofany change ofname, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economIC circumstances.

                                                                           March IS, 2014
                                                                           Date ofimposition of Judgment


                                                                           1 S 1 Timothy L. Brooks
                                                                           Signature of Judge




                                                                           Honorable Timothy L. Brooks, United States District Judge
                                                                           Name and Title of Judge


                                                                           March 19,2014
                                                                           Date
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          (Rev. 06/05) Judgment in Criminal Case   Document 117         Filed 03/20/14        Page 2 of 6 PageID #: 626
          Sheet 2 - Imprisonment
                                                                                                 Judgment - Page _.=.2_ of   6
DEFENDANT:                   GONZALO PONCE-HURTADO
CASE NUMBER:                 5: 13CR50012-004


                                                        IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tenn of:     two hundred ten (210) months.




      D The court makes the following recommendations to the Bureau of Prisons:




      X The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
          D a
                  ------------------ D a.m.                D p.m.       on

          D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                              RETURN
I have executed this judgment as follows:




          Defendant delivered                                                       to

at   ___________________________ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                        By _ _ _ _~~~~~~~~~~~------
                                                                                          DEPUTY UNITED STATES MARSHAL
AO 245B      Case     5:13-cr-50012-TLB
             (Rev. 09/08) Judgment in a Criminal Case Document 117           Filed 03/20/14          Page 3 of 6 PageID #: 627
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page       3     of          6
DEFENDANT:                     GONZALO PONCE-HURTADO
CASE NUMBER:                   5:13CR50012-004
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:             three (3) years.

It is anticipated that the defendant will be deported by Immigration Authorities following the term of imprisonment. Accordingly, ifdefendant
leaves the United States by way of deportation or otherwise after completion of the term of imprisonment and, after such departure, again
reenters the United States illegally, the defendant will then be in immediate violation of a condition of supervised release. If, prior to any
deportation, defendant is released on bond by ICE or if]. after deportation, the defendant returns to the United States legally, the defendant shall­
in either event-report to the nearest U.S. Probation Orfice witfiin 72 hours of such release or return.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.
X        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

o        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        Ifthis judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission ofthe court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ,J.'ersonal history or characteristics and shall permit the probation officer to make such notiflcations and to confirm the
          defendant s compliance with such notification requirement.
AO 245B   (Rev. 06/05)
          Case         Judgment in a Criminal Case Document 117
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          Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment -   Page _-,,4_ _   of     6
DEFENDANT:                       GONZALO PONCE-HURTADO
CASE NUMBER:                     5: 13CR50012-004
                                             CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                        Fine                                  Restitution
TOTALS           $   100.00                                          $ 15,000.00                          $ - 0­



D The determination of restitution is deferred until
    after such determination.
                                                           ---. An Amended Judgment in a Criminal Case (AO 245C) will be entered

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa)'Illent, unless specified otherwise in
    the priorii)' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                Total Loss·                       Restitution Ordered                      Priority or Percentage




TOTALS                             $ _ _ _ _ _ _ _0::...­                 $-------~o~


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X the interest requirement is waived for the           X fine     D restitution.
     D the interest requirement for the           D fine      D restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A ofTitle 18 for offenses committed on or after
Septemoer 13, 1994, but before April 23, 1996.
AO 2458   (Rev. 06/05) Judgment in a Criminal Case
          Case     5:13-cr-50012-TLB Document 117
          Sheet 6 - Schedule of Payments
                                                                             Filed 03/20/14          Page 5 of 6 PageID #: 629
                                                                                                           Judgment - Page      5     of       6
DEFENDANT:                 GONZALO PONCE-HURTADO
CASE NUMBER:               5: 13CR50012-004

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X    Lump sum payment of$          15,100.00            due immediately, balance due

          D     not later than                                    , or
          X     in accordance         D C,       D D,        D      E, or    X F below; or
B    D Payment to begin immediately (may be combined with                   DC,       D D, or      D F below); or
C    D Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X    Special instructions regarding the payment of criminal monetary penalties:
          If not paid immediately, any unr.aid financial penalty shall be payable during the period of imprisonment in quarterly installments of
          $25.00 or 10% of the defenaant s quarterly earnings, whichever is greater. The payment of any remaining balance shall be a condition
          of supervised release and may be paid in monthry installments of $300.00 or 10% of defendant's net monthly household income,
          whichever is greater, with the entire balance ofthe fine to be paid in full one month prior to the end ofthe period of supervised release.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




PaYJ!lents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
AO 245B   (Rev. 06/05)
          Case         Judgment in a Criminal Case Document 117
                   5:13-cr-50012-TLB                                     Filed 03/20/14       Page 6 of 6 PageID #: 630
          Sheet 7 - Denial of Federal Benefits

                                                                                                   Judgment - Page _.,..6_ of         6
DEFENDANT:                 GONZALO PONCE-HURTADO
CASE NUMBER:               5:13CR50012-004
                                               DENIAL OF FEDERAL BENEFITS
                                     (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

     IT IS ORDERED that the defendant shall be:

X    ineligible for all federal benefits for a period of             five (5) years

o ineligible for the following federal benefits for a period of
    (specify benefit(s))




                                                                     OR
o Having detennined that this is the defendant's third or subsequent conviction for distribution of controlled substances, IT IS
    ORDERED that the defendant shall be pennanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

    IT IS ORDERED that the defendant shall:

o be ineligible for all federal benefits for a period of
o be ineligible for the following federal benefits for a period of
    (specify benefit(s))




    o     successfully complete a drug testing and treatment program.

    o     perfonn community service, as specified in the probation and supervised release portion of this judgment.

          IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
          judgment as a requirement for the reinstatement of eligibility for federal benefits.



          Pursuant to 21 U.S.C. § 862(d), this denial offederal benefits does not include any retirement, welfare, Social Security, he~lth,
disability, veterans benefit, pu61ic housing, or other similar benefit, or any other benefit for which payments or services are reqUIred
for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                             U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
